983 F.2d 1056
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Lawrence Wayne FORD, Plaintiff-Appellant,v.Richard LANHAM, Commissioner;  Elmanus Herndon, FormerCommissioner;  Thomas Corcoran, Warden;  Thomas Passaro,Unit Manager;  Paul Glass, Sergeant;  Dr. Deza;CMS-Correctional Medical Service;  R. Scott Rodgers;Maryanne Gottschall;  Stephen Iden; Michael P. Murphy,Defendants-Appellees.
    No. 92-7078.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  November 30, 1992Decided:  December 29, 1992
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Edward S. Northrop, Senior District Judge.  (CA-91-3183)
      Lawrence Wayne Ford, Appellant Pro Se.
      Amy Beth Kushner, Office of the Attorney General of Maryland, Baltimore, Maryland;  Aron U. Raskus, Kramon &amp; Graham, P.A., Baltimore, Maryland, for Appellees.
      D.Md.
      Affirmed.
      Before WILKINS and NIEMEYER, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Lawrence Wayne Ford appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Ford v. Lanham, No. CA-91-3183 (D. Md. Sept. 28, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    